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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR116
                                             )
              Plaintiff,                     )
                                             )                MEMORANDUM
              vs.                            )                 AND ORDER
                                             )
LAVELLE GILES,                               )
                                             )
              Defendant.                     )


       This matter is before the Court on the Report and Recommendation (Filing No. 211)

issued by Magistrate Judge F.A. Gossett recommending denial of the motion to suppress

filed by the Defendant, Lavelle Giles (Filing No. 91). No objections have been filed to the

Report and Recommendation as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR

57.3(a).

       The Defendant seeks an order suppressing evidence and statements obtained as

a result of the Defendant’s April 4, 2006, traffic stop and arrest.        Judge Gossett

determined: Officer Henderson had an objectively reasonable basis for believing that a

traffic offense had occurred and therefore the stop did not violate the Defendant’s Fourth

Amendment rights; and the Defendant freely, knowingly and voluntarily waived his Miranda

rights and gave a statement.

       Notwithstanding the absence of objections, pursuant to 28 U.S.C. § 636(b)(1)(C)

and NECrimR 57.3, the Court has conducted a de novo review of the record. The Court

has read the parties’ briefs (Filing Nos. 91, 145) and the transcript (Filing No. 179). The

Court has also viewed the evidence, including the videotape of the Defendant’s interview

at police headquarters. (Filing No. 169) Because Judge Gossett fully, carefully, and
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correctly applied the law to the facts, the Court adopts the Report and Recommendation

in its entirety.

        IT IS ORDERED:

        1.         The Magistrate Judge’s Report and Recommendation (Filing No. 211) is

                   adopted in its entirety; and

        2.         The Defendant’s motion to suppress (Filing No. 91) is denied.

        DATED this 10th day of January, 2007.

                                                        BY THE COURT:

                                                        s/Laurie Smith Camp
                                                        United States District Judge




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